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                        EXHIBIT 30
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                           UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MASSACHUSETTS


  COMMONWEALTH OF
  MASSACHUSETTS, et al.,

          Plaintiffs,
                                                        Case No. _______________________
                        v.

  NATIONAL INSTITUTES OF HEALTH,
  et al.,

          Defendants.



                                Declaration of David W. Hatchett

I, David W. Hatchett, hereby declare:

1. I am the Vice President of Research at University of Nevada, Las Vegas (“UNLV”), a

   position I have held since 2022. As the Vice President of Research, I have oversight of all

   research activities, grants, contracts, clinical trials, and facilities and service of the Division

   of Research at UNLV. Prior to holding this position, I was Associate Vice President for

   Research at UNLV since 2016. I am a full professor of Chemistry and Radiochemistry.

2. As the Vice President of Research, I have personal knowledge of the matters set forth below,

   or have knowledge of the matters based on my review of information and records gathered

   by my staff.

3. I am providing this declaration to explain certain impacts of National Institutes of Health

   (“NIH”) Notice Number NOT-OD-25-068, Supplemental Guidance to the 2024 NIH Grants

   Policy Statement: Indirect Cost Rates, which purports to immediately reduce indirect costs

   payments to 15%.


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4. UNLV is Nevada’s urban research university. UNLV has ongoing NIH funded health

   research in the areas including genomics, personalized medicine, brain health, and other

   health areas that impact our region, state, and nation. This research is supported by total of

   $44.8 million currently awarded by NIH in variable stages of completion.

5. UNLV has a Negotiated Indirect Cost Rate Agreement (“NICRA”) with NIH, effective as of

   July 1, 2023. The Indirect Cost (“IDC”) Rate in UNLV’s NICRA is 51.0%.

6. UNLV’s total blended IDC rate for NIH funding is 47.2%. The blended IDC is lower than

   the negotiated rate for UNLV because it includes some grants with lower IDC rates.

7. NIH’s reduction of UNLV’S IDC rate will eliminate approximately $2.7 million in resources

   for the current funding year that UNLV uses to support its research programs The loss of

   these funds will immediately impact UNLV’S ability to draw critical funds used to pay

   expenses associated with facilities costs, payroll, and infrastructure used to support research

   and clinical trials.

8. UNLV’s Office of Clinical Trials and the Kirk Kerkorian School of Medicine have ongoing

   clinical trials that are partially supported with IDC funding that would be severely

   diminished by the reduction of rate to 15%.

9. UNLV’s ability to manage programmatic research infrastructure, payroll, and research

   facilities, will be severely hindered by a reduction of IDCR. The impact would result in a loss

   of Division of Research staff, facilities, and infrastructure needed to conduct research and

   compete for research funding at UNLV.

10. UNLV next anticipates to draw federal and federal pass through funds on or around February

   15, 2025 for fifty-nine (59) programs supported by NIH. At that time, the reduced IDC rate

   will impact UNLV by reducing our ability to support active grants, employ research staff to



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   administer grants, and maintain facilities and core laboratories that are used to support the

   funded research. The reduction of indirect funds limits directed funding for laboratory

   maintenance, start up fees for new faculty hires, freezing research administration across

   departments and central office support with a direct impact on furthering research

   infrastructure, and the university’s capacity to support research effectively.

I declare under penalty of perjury that the foregoing is true and correct to the best of my

knowledge.



Executed this 9th day of February, 2025, in Las Vegas, Nevada.




                                                      David W. Hatchett

                                                      Vice President of Research

                                                      University of Nevada, Las Vegas




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